 


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


OWENS CORNING SALES, LLC, and    )
OWENS CORNING MINERAL WOOL, LLC, )
                                 )
          Plaintiffs,            )
                                 )
     vs.                         )                            Case No. 6:18-cv-03038-MDH
                                 )
AREA IMPIANTI S.p.A.,            )
                                 )
          Defendant.             )

                                    RULES OF JURY TRIAL

       1.       Normally, court will convene at 9:00 a.m. and recess at 5:00 p.m. The parties

should be in the courtroom at 8:00 a.m. on the first day of trial and 8:30 a.m. on each

subsequent day in order to take up any matters that need to be addressed before the jury is

brought in at 9:00 a.m. The parties may expect morning and afternoon breaks at appropriate

times. Lunch break normally will be taken at noon.

       2.       The Court will conduct an initial voir dire to elicit general information and

propound questions from the parties’ proposed voir dire. At the conclusion of the Court’s

questioning, counsel will be afforded the opportunity to suggest follow-up or clarifying questions

to the Court. Under some limited circumstances counsel may be allowed to pose follow-up

questions and clarifying questions directly to panel members.

       3.       Opening statements will be limited to twenty (20) minutes for each side.

       4.       No visual aid or exhibit shall be used during an opening statement unless

opposing counsel has been shown the visual aid or exhibit and has agreed that the item may be

used during the opening statement.




 
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       5.       The interrogation of each witness shall consist of: (1) direct examination; (2)

cross-examination; (3) redirect examination; and (4) recross examination. Redirect examination

will be limited to issues addressed in cross examination. Recross examination will be limited to

issues addressed in redirect examination. No further questioning will be permitted except by

leave of Court in extraordinary circumstances.

       6.       Only one (1) counsel per party may examine a witness.

       7.       Counsel may approach the witness for any legitimate purpose without requesting

permission to do so. However, witnesses shall be interrogated from a reasonable distance and

treated fairly and respectfully.

       8.       If a podium is provided, counsel may use it, but are not required to do so.

However, counsel will not be allowed to intrude into the jury’s space. Furthermore, no paper,

object, or hands of counsel shall be placed on the railing in front of the jury box.

       9.       Except in unusual circumstances, counsel should stand when addressing the Court

or when examining the witness. See Local Rule 83.3(a).

       10.      Except in unusual circumstances, a witness should be allowed to complete an

answer. If the question calls for a “yes” or “no” answer, you may anticipate that the witness will

be allowed an opportunity to explain that answer.

       11.      During the course of trial, each party shall notify opposing counsel of all

witnesses it intends to call the following day. The parties should be prepared to have a witness

ready to testify immediately following the conclusion of testimony of another witness.

       12.      When making an objection, counsel should say only “objection” plus the legal

reason for the objection e.g., leading, hearsay, etc. If objecting counsel desires to give reasons

for the objection or if an opposing counsel desires to oppose the objection, counsel shall request



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leave to approach the bench. Bench conferences are discouraged. Objections to evidence should

be made only by counsel handling the witness. Objections during opening statements or closing

arguments should be made only by counsel making opening statements or closing arguments.

Counsel should notify the Court of anticipated evidentiary issues at the pretrial conference.

When that is not possible, counsel should advise the Court of an anticipated evidentiary issue on

the morning the witness is expected to take the stand and testify regarding the issue.

          13.   Unless permission is granted before the trial begins, a maximum of two (2) expert

witnesses shall be allowed to testify for any party on any one (1) subject. After counsel

questions an expert about his/her qualifications, do not ask the Court to declare the witness an

expert.

          14.   Visible reactions (such as facial or body gestures) to the testimony of witnesses,

counsels’ presentations, the Court’s rulings, or the verdict, are inappropriate.

          15.   Do not converse with your client or co-counsel or during a bench conference in a

manner that your conversation may be heard by the jury.

          16.   Each party shall mark each of their exhibits prior to trial with an exhibit sticker

indicating whether the exhibit is being offered by the plaintiff or the defendant, along with the

exhibit number. The designation for each exhibit shall match the numeric designation for that

exhibit on the exhibit list furnished to the clerk prior to trial.

          17.   Witnesses will remain in the witness chair unless leave of court is granted for a

witness to reference an exhibit and then the witness shall return to the witness chair immediately

after referencing the exhibit. Witnesses will not be allowed to testify standing in front of the jury

without leave of court to do so. Leave will only be granted as deemed necessary and

appropriate.



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          18.   All exhibits utilized at trial as part of a party’s presentation of evidence,

regardless of whether admitted or not, must be kept available for use by other parties during the

remainder of the trial.

          19.   No food or drink is allowed in the courtroom except for water.

          20.   The length of closing arguments will be established during the instruction

conference.

          21.   Instructions will be read to the jury before closing arguments. The jury will be

given a copy of the instructions after closing arguments for use during deliberations.

          22.   After the jury retires, each side shall assemble their exhibits and keep them

available in the courtroom. Unless granted leave of Court, counsel and their clients should

remain in the courthouse and advise the Court’s staff where they will be located while the jury is

deliberating.

          23.   After the jury returns its verdict, be prepared to tell the Court if you want the jury

polled.

          24.   After the jury is dismissed, each counsel must take possession of his/her exhibits

from the courtroom deputy and sign the receipt at the bottom of the exhibit list.



                                                         /s/ Douglas Harpool_______________
                                                           DOUGLAS HARPOOL
                                                        UNITED STATES DISTRICT JUDGE


DATED: April 3, 2018




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